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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

 

 

UNITED STATES OF AMERICA,
Vv. Case No. 1:19-cr-10080-014-NMG
LORI LOUGHLIN,
Defendant
LORI LOUGHLIN’S

ASSENTED-TO MOTION FOR RETURN OF PASSPORT
Lori Loughlin respectfully moves the Court for the return to her counsel of her United
States passport, which is in the custody of the United States Pretrial Services Office. In support
of her motion, Ms. Loughlin states as follows:

1. On March 27, 2019, counsel for Ms. Loughlin delivered her passport to the
Pretrial Services Office for the Central District of California.

2. On August 21, 2020, the Court sentenced Ms. Loughlin to two months of
incarceration, followed by two years of supervised release, 100 hours of
community service, as well as a fine of $150,000.

3. On October 30, 2020, Ms. Loughlin reported to FCI Dublin to serve her period of
incarceration.

4. On November 24, 2020, the government filed a Satisfaction of Judgment
confirming that Ms. Loughlin had paid her fine in full.

5. On December 28, 2020, Ms. Loughlin was released from the custody of the

Bureau of Prisons.

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